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                   UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                       FORT WORTH DIVISION

    CONGHUA YAN,

         Plaintiff,

    v.                                               No. 4:23-cv-00758-P

    THE STATE BAR OF TEXAS, ET AL.,

         Defendants.
                                   ORDER
         Before the Court is Plaintiff’s Motion to Reopen. ECF No. 145.
    Having considered the timely submission, the Court concludes that the
    Motion should be and hereby is GRANTED. Accordingly, the Court
    DIRECTS the Clerk of the Court to REOPEN the above-styled civil
    action, which was administratively closed for the pendency of Plaintiff’s
    interlocutory appeal to the United States Court of Appeals for the Fifth
    Circuit. See ECF No. 139. In addition, Plaintiff’s Motion requests
    clarification regarding the status of Plaintiff’s Response & Objection
    (ECF No. 140). See ECF No. 145 at 2. The Court notes that Plaintiff’s
    Response & Objection were duly received via the ECF filing system and
    will be taken into consideration when ruling on the relevant Motion to
    Dismiss.

         SO ORDERED on this 10th day of April 2024.
